    Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 1 of 18 PageID #: 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK



JEANETTE MINONDO, individually and on                 Case No.
behalf of all others similarly situated,

                             Plaintiff,               CLASS ACTION COMPLAINT
       v.

B&G FOODS, INC.,                                      JURY TRIAL DEMANDED

                             Defendant.

       Plaintiff Jeanette Minondo (“Plaintiff”) brings this action on behalf of herself and all

others similarly situated against Defendant B&G Foods, Inc. (“Defendant”). Plaintiff makes the

following allegations pursuant to the investigation of her counsel and based upon information

and belief, except as to the allegations specifically pertaining to herself, which are based on her

personal knowledge.

                                   NATURE OF THE ACTION

       1.        This is a class action on behalf of purchasers of Defendant’s pasta sauce products

(the “Products”) 1 that claim to have “No Preservatives.” This representation is false and/or

misleading because the Products contain citric acid—a known preservative commonly used in

food products.

       2.        Defendant’s “No Preservatives” representation is featured on the Products’

labeling in order to induce health-conscious consumers to purchase foods that are free from

preservatives. Defendant markets its Products in a systematically misleading manner by



1
  The Products include all of Defendant’s canned and packaged products that are advertised as
containing “No Preservatives” but contain citric acid. On information and belief, the Products
include all variations of Emeril’s branded Pasta Sauce including but not limited to Emeril’s
Kicked Up Tomato Pasta Sauce, Emeril’s Roasted Gaaahlic Pasta Sauce, Emeril’s Home Style
Marinara Pasta Sauce, Emeril’s Tomato & Basil Pasta Sauce, Emeril’s Vodka Sauce, Emeril’s
Tomato & Basil Pasta Sauce.

                                                  2
  Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 2 of 18 PageID #: 2




misrepresenting that the Products do not contain preservatives.

       3.      Defendant has profited unjustly as a result of its deceptive conduct. Plaintiff

therefore asserts claims on behalf of herself and similarly situated purchasers for violation of

New York General Business Law §§ 349 and 350, breach of express warranty, and unjust

enrichment.

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(a) because this case is a class action where the aggregate claims of all members of the

proposed class are in excess of $5,000,000.00 exclusive of interest and costs, there are over 100

members of the putative class, and at least one class member is a citizen of a state different than

Defendant.

       5.      This Court has personal jurisdiction over Defendant because a substantial portion

of the events that gave rise to Plaintiff’s claims occurred in New York.

       6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial portion of the events that gave rise to Plaintiff’s claims occurred in this District.

                                              PARTIES

       7.      Plaintiff Jeanette Minondo is a citizen of New York who resides in Richmond

Hill, New York. In or around April 2023, Ms. Minondo purchased Emeril’s Home Style

Marinara Pasta Sauce from a Stop & Shop in Queens, New York for approximately $5. In

purchasing the Product, Ms. Minondo relied on Defendant’s false, misleading, and deceptive

marketing of the Product containing “No Preservatives.” Ms. Minondo understood that “No

Preservatives” meant the Product did not contain any preservatives. However, the Product she

purchased did contain citric acid, a preservative. Had Ms. Minondo known the “No


                                                   3
     Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 3 of 18 PageID #: 3




Preservatives” representation was false and misleading, she would not have purchased the

Product, or, at the very least, would have only been willing to purchase the Product at a lesser

price.

         8.    Defendant B&G Foods, Inc. is corporation organized under the laws of Delaware

with its principal place of business located at Four Gatehall Drive, Parsippany, NJ 07054.

Defendant formulates, advertises, manufactures, and/or sells the Products throughout New York

and the United States.

                                  GENERAL ALLEGATIONS

         9.    Defendant misrepresents that the Products contain “No Preservatives.”

Defendant advertises on the side of each of the Products that they contain “No Preservatives.”

Thus, reasonable consumers are led to believe the Products are free from preservatives.

However, the Products contain citric acid, a well-known preservative. Examples of the Products’

labeling, along with their ingredient list, are depicted below:

//

//




                                                  4
Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 4 of 18 PageID #: 4




                                    5
Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 5 of 18 PageID #: 5




                                    6
  Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 6 of 18 PageID #: 6




       10.     Citric acid is a preservative. The FDA defines a chemical preservative as “any

chemical that, when added to food, tends to prevent or retard deterioration thereof, but does not

include common salt, sugars, vinegars, spices, or oils extracted from spices, substances added to

food by direct exposure thereof to wood smoke, or chemicals applied for their insecticidal or

herbicidal properties.” 21 C.F.R. §101.22(a)(5).

                                                7
    Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 7 of 18 PageID #: 7




       11.     Food preservatives are classified into two main groups: antioxidants and

antimicrobials. Food scientists agree that the chemical properties of citric acid make it a

preservative. Specifically, citric acid is classified as an antioxidant that delays or prevents the

deterioration of foods by so-called oxidative mechanisms. 2 However, it also possesses

antimicrobial properties.

       12.     In its “Overview of Food Ingredients, Additives & Colors,” the FDA lists citric

acid as a preservative. 3 The FDA also recognizes that preservatives, like citric acid, are

commonly used in packaged foods such as the Products.

       13.     Under the “What They Do” table heading, the FDA states that preservatives help

“prevent food spoilage from bacteria, molds, fungi or yeast (antimicrobials); slow or prevent

changes in color, flavor, or texture and delay rancidity (antioxidants); [and] maintain freshness.” 4

       14.     The FDA’s classification of citric acid as a preservative is also reflected in a

warning letter sent to Chiquita Brands International, Inc. and Fresh Express, Inc. In the letter, the

FDA deemed the “Pineapple Bites” and “Pineapple Bites with Coconut” products manufactured

by the companies “misbranded within the meaning of Section 403(k) of the [Federal Food and

Drug Cosmetic] Act [21 U.S.C. 343(k)] in that they contain the chemical preservatives ascorbic

acid and citric acid but their labels fail to declare these preservatives with a description of their

functions. 21 C.F.R. [§] 101.22” (emphases added). 5



2
  Preservatives, BRITTANICA, https://www.britannica.com/topic/food-
additive/Preservatives#ref502211.
3
  See Overview of Food Ingredients, Additives, and Colors, U.S. FOOD & DRUG ADMIN.
(2018), https://www.fda.gov/food/food-ingredients-packaging/overview-food-ingredients-
additives-colors#types.
4
  Id.
5
  See October 6, 2010 FDA Warning Letter to Chiquita Brands Int’l, Inc. and Fresh Express, Inc.

                                                   8
     Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 8 of 18 PageID #: 8




          15.     Citric acid has antioxidant and antimicrobial properties. Citric acid acts as an

antioxidant via two processes—inhibiting enzymes and chelating metals. Certain enzymes

naturally exist in food products that oxidize and breakdown the food products’ molecules. Citric

acid deactivates these enzymes, thereby functioning as a preservative. 6 Citric acid also chelates

metal ions, which stabilizes and preserves food products by bonding certain molecules in food

products to centrally located metal atoms. 7

          16.     Citric acid also has antimicrobial properties and directly inhibits the growth of

some bacteria and mold. 8 This is yet another reason why food scientists classify citric acid as a

preservative. 9

          17.     Subjective intent of use is immaterial. Citric acid functions as a preservative in

the Products, and this is true regardless of Defendant’s subjective purpose or intent for adding it

to the Products, such as to impart flavor. 10

          18.     Even if the Products’ citric acids do not function as a preservative in the Products,

they nonetheless qualify as preservatives given that they have the capacity or tendency to do so.


6
    Id.
7
  P. Davidson et al., Chapter 20: Antimicrobial Agents, in FOOD ADDITIVES, at 592 (A. Larry
Branen et al. eds., Marcel Dekker, Inc. 2d ed. 2002).
8
  L. Su et al., Study on the Antimicrobial Properties of Citrate-Based Biodegradable
Polymers, FRONTIERS IN BIOENGINEERING AND BIOTECHNOLOGY, 2, 23.
https://doi.org/10.3389/fbioe.2014.00023.
9
  Citric Acid Compound Summary, NAT’L CTR. FOR BIOTECHNOLOGY INFO.,
https://pubchem.ncbi.nlm.nih.gov/compound/Citric-acid.
10
   Citric Acid in KIRK-OTHMER FOOD & FEED TECH., at 262 (John Wiley & Sons, 2007);
L. Somogyi, Chapter 13: Direct Food Additives in Fruit Processing, in PROCESSING
FRUITS: SCI. & TECH., at 302 (D. Barrett et al. eds., CRC Press 2d ed. 2004); M. Abd-
Elhady, Effect of citric acid, calcium lactate and low temperature prefreezing treatment on the
quality of frozen strawberry, 59 ANNALS OF AGRIC. SCIS., 69-75 (2014); J. deMan,
Chapter 11: Additives and Contaminants, in PRINCIPLES OF FOOD CHEMISTRY, at 438
(AVI Publishing Co., Inc. 3d ed. 1999) (“Acids as food additives serve a dual purpose, as
acidulants and as preservatives”).

                                                    9
     Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 9 of 18 PageID #: 9




See 21 C.F.R. §101.22(a)(5) (defining preservatives as “any chemical that, when added to food,

tends to prevent or retard deterioration”); see also Merriam-Webster’s Dictionary (defining

“preservative” as “something that preserves or has the power of preserving.”); 11 Oxford English

Dictionary (defining “preservative” as “[t]ending to preserve or capable of preserving”). 12

        19.    The Products’ citric acid is chemically processed. Citric acid is naturally

occurring when derived from certain citrus fruits. That is not true of the citric acid contained in

the Products. The citric acid contained in the Products is commercially manufactured and the

result of extensive chemical processing. 13 In fact, more than 90 percent of commercially

produced citric acid, including the citric acid contained in the Products, is manufactured through

a processed derivative of black mold, Aspergillus niger, which can cause allergic reactions and

diseases in humans. 14 Negative side effects of consuming manufactured citric acid include:

swelling and stiffness resulting in joint pain; muscle pain; stomach pain; and shortness of

breath. 15

        20.    Defendant exploits consumer demand for preservative-free food. Defendant’s




11
   Preservative, Merriam-Webster Dictionary, https://www.merriam-
webster.com/dictionary/preservative?utm_campaign=sd&utm_medium=serp&utm_source=jsonl
d.
12
   Preservative, American Heritage Dictionary,
https://ahdictionary.com/word/search.html?q=preservative.
13
   A. Hesham, Y. Mostafa & L. Al-Sharqi, Optimization of Citric Acid Production by
Immobilized Cells of Novel Yeast Isolates, 48 MYCOBIOLOGY 122, 123 (2020).
14
   Id.; I. Sweis & B. Cressey, Potential role of the common food additive manufactured citric
acid in eliciting significant inflammatory reactions contributing to serious disease states: A
series for four case reports, 5 TOXICOLOGY REPS., 808-12 (2018); R. Ciriminna et al., Citric
Acid: Emerging Applications of Key Biotechnology Industrial Product, 11 CHEMISTRY CENT.
J. 22 (2017), https://doi.org/10.1186/s13065-017-0251-y; K. Kirimura, Y. Honda, & T.
Hattori, Citric Acid, 3 COMPREHENSIVE BIOTECHNOLOGY 135 (2011),
https://www.sciencedirect.com/science/article/pii/B9780080885049001690
15
   Id.

                                                 10
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 10 of 18 PageID #: 10




misrepresentation seeks to capitalize on consumers’ preference for products with no

preservatives. Indeed, “foods bearing ‘free-from’ claims are increasingly relevant to Americans,

as they perceive the products as closely tied to health … 84 percent of American consumers buy

free-from foods because they are seeking out more natural or less processed foods. In fact, 43

percent of consumers agree that “free-from” foods are healthier than foods without a “free-from”

claim, while another three in five believe the fewer ingredients a product has, the healthier it is

(59 percent). Among the top claims free-from consumers deem most important are trans-fat-free

(78 percent) and preservative-free (71 percent).” 16

       21.     According to another study, when consumers were asked to choose a product that

was the closest to their understanding of what “natural” means on product labels, on balance,

they chose products with “No Preservatives” labels. 17

       22.     The global sale of healthy food products is estimated to be $4 trillion dollars and

is forecasted to reach $7 trillion by 2025. 18 Thus, consumers are willing pay a premium for

healthy, non-preservative food items, as they hoped for in purchasing the Products.

       23.     Defendant’s misleading and deceptive practices proximately caused harm to

Plaintiff and the proposed class members who suffered an injury in fact and lost money or

property as a result of Defendant’s deceptive conduct.




16
   See, Free-From Food Trends-US-May 2015, MINTEL https://www.mintel.com/press-
%20centre/food-and-drink/84-of-americans-buy-free-from-foods-because-they-believe-them-to-
be-more-natural-or-less-processed.
17
   Sajida Rahman, et al., Assessing consumers’ understanding of the term “Natural” on food
labeling, Journal of Food Science, Vol. 85, No. 6, 1891-1896. (2020).
18
   Global Wellness Institute, The Global Wellness Economy Stands at $4.4 Trillion Amidst the
Disruptions of COVID-19; Is Forecast to Reach $7 Trillion by 2025,
https://www.hospitalitynet.org/news/4108643.html.

                                                 11
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 11 of 18 PageID #: 11




                                 CLASS ACTION ALLEGATIONS

       24.        Plaintiff seeks to represent a class defined as all persons in the United States who,

during the applicable statute of limitations period, purchased Defendant’s Products (the “Class”).

       25.        Plaintiff seeks to represent a subclass defined as all Class members who reside in

New York who purchased the Products (the “New York Subclass”) (collectively with the Class,

the “Classes”).

       26.        Members of the Classes are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the hundreds of

thousands. The precise number of Class members and their identities are unknown to Plaintiff at

this time but may be determined through discovery. Class members may be notified of the

pendency of this action by mail and/or publication through the distribution records of Defendant

and third-party retailers and vendors.

       27.        Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to, the true nature and presence of preservatives in the Products;

whether the marketing, advertising, packaging, labeling, and other promotional materials for the

Products are deceptive; whether Plaintiff and the members of the Classes have suffered damages

as a result of Defendant’s actions and the amount thereof; and whether Plaintiff and the members

of the Classes are entitled to attorneys’ fees and costs.

       28.        The claims of the named Plaintiff are typical of the claims of the Class in that the

named Plaintiff was exposed to Defendant’s false and misleading marketing, purchased

Defendant’s Products, and suffered a loss as a result of those purchases.

       29.        Plaintiff is an adequate representative of the Classes because her interests do not


                                                   12
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 12 of 18 PageID #: 12




conflict with the interests of the Class members she seeks to represent, she has retained

competent counsel experienced in prosecuting class actions, and she intends to prosecute this

action vigorously. The interests of Class members will be fairly and adequately protected by

Plaintiff and her counsel.

         30.   The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendant’s liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.

                                      CAUSES OF ACTION

                                           COUNT I
               Violation of the New York General Business Law (“GBL”) § 349
                             (On behalf of the New York Subclass)

         31.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         32.   Plaintiff brings this cause of action on behalf of herself and members of the New

York Subclass against Defendant.

         33.   Plaintiff and New York Subclass members are “persons” within the meaning of


                                                 13
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 13 of 18 PageID #: 13




the GBL § 349(h).

         34.   Defendant is a “person, firm, corporation or association or agent or employee

thereof” within the meaning of GBL § 349(b).

         35.   Under GBL § 349, “[d]eceptive acts or practices in the conduct of any business,

trade or commerce are unlawful.”

         36.   Defendant made false and misleading statements by marketing the Products as

containing “No Preservatives” when in fact they contain citric acid, a preservative.

         37.   In doing so, Defendant engaged in deceptive acts or practices in violation of GBL

§ 349.

         38.   Defendant’s deceptive acts or practices were materially misleading. Defendant’s

conduct was likely to and did deceive reasonable consumers, including Plaintiff, about the

quality of its Products, as discussed throughout.

         39.   Plaintiff and New York Subclass members were unaware of, and lacked a

reasonable means of discovering, the material facts that Defendant withheld.

         40.   Defendant’s actions set forth above occurred in the conduct of trade or commerce.

         41.   The foregoing deceptive acts and practices were directed at consumers.

         42.   Defendant’s misleading conduct concerns widely-purchased consumer products

and affects the public interest. Defendant’s conduct includes unfair and misleading acts or

practices that have the capacity to deceive consumers and are harmful to the public at large.

Defendant’s conduct is misleading in a material way because it fundamentally misrepresents the

production and quality of the Products.

         43.   Plaintiff and New York Subclass members suffered ascertainable loss as a direct

and proximate result of Defendant’s GBL violations in that (a) they would not have purchased


                                                14
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 14 of 18 PageID #: 14




the Products had they known the truth, and (b) they overpaid for the Products on account of the

“No Preservatives” misrepresentation, as described herein.

         44.   On behalf of herself and other members of the New York Subclass, Plaintiff seeks

to enjoin Defendant’s unlawful acts and practices described herein, to recover her actual

damages or $50, whichever is greater, reasonable attorney’s fees and costs, and any other just

and proper relief available under GBL § 349.


                                         COUNT II
                    Violation of the New York General Business Law § 350
                            (On behalf of the New York Subclass)

         45.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         46.   Plaintiff brings this claim individually and on behalf of the members of the New

York Subclass against Defendant.

         47.   GBL § 350 provides that “[f]alse advertising in the conduct of any business, trade

or commerce or in the furnishing of any service in this state is hereby declared unlawful.”

         48.   Defendant’s labeling and advertisement of the Products was false and misleading

in a material way. Specifically, Defendant advertised the Products as containing “No

Preservatives” when in fact they contain citric acid, a preservative.

         49.   Plaintiff and reasonable consumers understand Defendant’s misrepresentations to

mean that the Products do not contain preservatives.

         50.   This misrepresentation was consumer-oriented and was likely to mislead a

reasonable consumer acting reasonably under the circumstances.

         51.   This misrepresentation has resulted in consumer injury or harm to the public



                                                 15
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 15 of 18 PageID #: 15




interest.

         52.   As a result of this misrepresentation, Plaintiff and New York Subclass members

have suffered economic injury because (a) they would not have purchased the Product had they

known the truth, and (b) they overpaid for the Products on account of the “No Preservatives”

misrepresentation, as described herein.

         53.   By reason of the foregoing and as a result of Defendant’s conduct, Plaintiff and

New York Subclass members seek to enjoin the unlawful acts and practices described herein, to

recover their actual damages or five hundred dollars, whichever is greater, three times actual

damages, reasonable attorneys’ fees and costs, and any other just and proper relief available

under GBL § 350.

                                         COUNT III
                                Breach of Express Warranty
                     (On behalf of the Class and the New York Subclass)

         54.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         55.   Plaintiff brings this claim individually and on behalf of the members of the Class

against Defendant.

         56.   Defendant, as the producer, marketer, distributor, and/or seller, expressly

warranted that the Products contain “No Preservatives.”

         57.   Defendant’s representations and warranties were part of the description of the

goods and the bargain upon which the Products were offered for sale and purchased by Plaintiff

and members of the Classes.

         58.   In fact, the Products do not conform to Defendant’s representations and

warranties because the Products contain citric acid, a well-documented preservative. By falsely


                                                16
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 16 of 18 PageID #: 16




representing the Products in this way, Defendant breached its express warranty.

         59.   As a direct and proximate cause of Defendant’s breach of express warranty,

Plaintiff and members of the Classes have been injured and harmed in an amount to be proven at

trial because they would not have purchased the Products, or would have paid substantially less

for them, had they known they contained a preservative.

         60.   On August 28, 2023, Plaintiff sent Defendant, via certified mail, a pre-suit notice

letter on behalf of Plaintiff that complied in all respects with U.C.C. §§ 2-313 and 2-607.

Plaintiff’s counsel sent Defendant a letter advising that Defendant breached an express warranty

and demanding that Defendant make full restitution by refunding the monies received therefrom.

Defendant did not respond to Plaintiff’s letter.

                                           COUNT IV
                                       Unjust Enrichment
                                       (In the Alternative)

         61.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged

above.

         62.   Plaintiff brings this claim individually and on behalf of members of the Class

against Defendant.

         63.   Plaintiff and Class members conferred benefits on Defendant by paying money to

Defendant for the purchase of the Products.

         64.   Defendant has knowledge of such benefits.

         65.   Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiff’s and Class members’ purchase of the Products. Retention of those moneys under these

circumstances is unjust and inequitable because Defendant misrepresented that the Products

contain “No Preservatives” when in fact they contain citric acid, a known preservative.


                                                   17
 Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 17 of 18 PageID #: 17




        66.     Because Defendant’s retention of the non-gratuitous benefits conferred on it by

Plaintiff and Class members is unjust and inequitable, Defendant must pay restitution to Plaintiff

and the Class members as ordered by the Court.

                                       PRAYER FOR RELIEF
        WHEREFORE Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:
        (a)     For an order certifying the Class and New York Subclass under Rule 23 of the
                Federal Rules of Civil Procedure, naming Plaintiff as representative of the Class
                and New York Subclass, and naming Plaintiff’s attorneys as Class Counsel to
                represent the Class and New York Subclass;

        (b)     For an order finding in favor of Plaintiff and the Classes on all counts asserted
                herein;

        (c)     For compensatory and statutory damages in amounts to be determined by the
                Court and/or jury;

        (d)     For prejudgment interest on all amounts awarded;

        (e)     For an order of restitution and all other forms of equitable monetary relief;

        (f)     For an order enjoining Defendant from continuing the illegal practices detailed
                herein and compelling Defendant to undertake a corrective advertising campaign;
                and

        (g)     For an order awarding reasonable attorneys’ fees and expenses and costs of suit.
                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable as of right.



Dated: October 30, 2023                          Respectfully submitted,


                                                 BURSOR & FISHER, P.A.

                                                 By:     /s/ Julian C. Diamond
                                                         Julian C. Diamond

                                                 Alec Leslie
                                                 Julian C. Diamond

                                                    18
Case 1:23-cv-08087-TAM Document 1 Filed 10/30/23 Page 18 of 18 PageID #: 18




                                  1330 Avenue of the Americas, 32nd Floor
                                  New York, New York 10019
                                  Telephone: (646) 837-7150
                                  Facsimile: (212) 989-9163
                                  E-Mail: aleslie@bursor.com
                                          jdiamond@bursor.com

                                  Nick Suciu III*
                                  MILBERG COLEMAN BRYSON
                                  PHILLIPS GROSSMAN, PLLC
                                  6905 Telegraph Rd., Suite 115
                                  Bloomfield Hills, MI 48301
                                  Telephone: (313) 303-3472
                                  Email: nsuciu@milberg.com

                                  Erin J. Ruben*
                                  MILBERG COLEMAN BRYSON
                                  PHILLIPS GROSSMAN PLLC
                                  900 W. Morgan Street
                                  Raleigh, NC 27603
                                  Telephone: (919) 600-5000
                                  Email: eruben@milberg.com

                                  J. Hunter Bryson*
                                  MILBERG COLEMAN BRYSON
                                  PHILLIPS GROSSMAN, PLLC
                                  405 E 50th Street
                                  New York, NY 10022
                                  Telephone: (630) 796-0903
                                  Email: hbryson@milberg.com

                                  * Pro Hac Vice application forthcoming

                                  Attorneys for Plaintiff




                                    19
